                  Case 2:11-cv-09772-AWA Document 1 Filed 07/22/11 Page 1 of 2 PageID# 1
                                                                          FILED

                                                       IN THE UNITED STATES DISTRICT COURT JUL                             2 2 2011
                                                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                NORFOLK DIVISION
     MICHAEL A. MCMAHON, Plaintiff,                                                                         CLERK. U.S. DISTRICT QQ
 v.                                                                                                                   NQHFOI '<. VA           ACTION NO.

                                                    WESTINGH0USE ™ BRAKE CO.; THE BUDD COMPANY:
 ORCHARD
                                                       METROPOLITAN             LIFE     INSURANCE            COMPANY;          OLD
                                                lndlvldua"y and as successor in interest to Vapor, A Brunswick                          ASBESTOS CASE
                                           f tnap°r Heatmg CorP°r£tiofi; TRANE US, INC., f/k/a AMERICAN
 COMPANYDefends                              BRUNSW'CK C°MPANY: 3nd WESTINGHOUSE AIR BRAKE
                                                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 IN RE. ASBESTOS PRODUCTS LIABILITY
 LITIGATION (NO. VI)
                                                                                                                                        CIVIL ACTION NO
                                                                                                                                        MDL875
This Document Relates To:
MICHAEL A. MCMAHON v. American Standard, Inc., et al.

                                                                        COMPLAINT




       Plaintiff ("Plaintiff-worker") is: Michael A McMahon
                                                                                                    Social Security no.   XXX-XX-6192
       Address- Roseville, Minnesota
                                                                                                    Date of Birth. XX/XX/1943
       Plaintiffs Spouse is: Joanne McMahon
       Address: Same as above
3.                                                                                                  Date of Birth: XX/XX/1941
       Defendants are those companies listed in the caption
                                                                                possible at this time, the asbestos



       A.




                   from 1968to20Q3
             U. S. Army, signalman and communications worker 1965 to 196'                          Asbestos containing products exposed to. Block,
                                                                                                    Pipe Covering. Cement, Gaskets and Packing.
                                                                                                   Cloth, Dust. Wall Covering. Brakeshoes and Friction
                                                                                                    Products and Insulation.
                                                                                             D     Dependants Joanne McMahon
                      adopts by reference the following Counts from the Master-Long Form Complaint filed in the United States District Court for the
                  f IPennsylvania pursuant to Order dated August 20, 1986: Counts I. II, III, IV and X. Further. Plaintiff alleges as follows-
COUNT        8.    Plaintiff-worker incorporates by reference the preceding paragraphs as if they were set forth herein




                                                                             care to prevent such exposure;                                   of the risks
                 Case 2:11-cv-09772-AWA Document 1 Filed 07/22/11 Page 2 of 2 PageID# 2




       Defendants breached Sald warranii-- in *wnm          „   ■         '"sections aboul the risks and dangers mherem in the products

        Defendants, including but net limited to




«9 As a direct and proximate result of the negHg
                                           negHg" S r ^essn^, 7 "^^fhS 3S " "^ Were sel fo'»' herein.



mmmmassm
 mmma

        S. Closer. Esq. - VA Bar No. 4092          of Ccun«i-                                   ' a"d 'Urtllef fe"ef as ls 'ust and Pr°Per
        SSS^
Karen M. Zetlo. Esq. - VA Bar No B57B3
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  S                                                                                             7^KM
                                                                                                      Counsel
